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1    ROBERT L. FORKNER (CSB#1066097)
     Law Offices of Robert L. Forkner
2    722 Thirteenth Street
     Modesto, CA 95354
3    Telephone: (209) 544–0200
     Fax:        (209) 544-1860
4
     Attorney for Defendant
5    NOEL CASTILLO
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7
8                         IN THE UNITED STATES DISTRICT COURT
9                       FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
     UNITED STATES OF AMERICA,       ) No. 1:09-cr-00104 LJO
12                                   )
                    Plaintiff,       ) STIPULATION AND PROPOSED
13                                   ) ORDER (order slightly modified)
          v.                         )
14                                   )
     NOEL CASTILLO,                  )
15                                   )
                    Defendants.      )
16   _______________________________ )
17
           Defendant NOEL CASTILLO, through his attorney ROBERT L. FORKNER, and
18
     the United States, through its counsel, Assistant United States Attorney KAREN A.
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     ESCOBAR, hereby stipulate and request the following:
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           1. That the Court continue the status conference in the above-captioned case from
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     September 25, 2009, to October 9, 2009, at 9:00 a.m.
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           2. The defense has requested the continuance in order to permit a complete review
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     of the Government’s plea offer with the defendant before further scheduling of this case.
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            For these reasons, the parties stipulate and request that the Court exclude time
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     within which the trial must commence under the Speedy Trial Act from September 25,
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     2009 through October 9, 2009, for defense preparation under 18 U.S.C.
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     § 3161(h)(8)(B)(ii) and (iv) (local codes T2 and T4).
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1                                                  Respectfully submitted,
2
3          Dated: September 17, 2009
                                                   /s/ Robert L. Forkner
4                                                  ROBERT L. FORKNER
                                                   Attorney for Defendant
5                                                  NOEL CASTILLO
6          Dated: September 17, 2009
                                                   /s/ Karen A. Escobar
7                                                  KAREN A. ESCOBAR
                                                   Assistant United States Attorney
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9
10
11                                             ORDER
12            For the reasons stated above, the Court finds that the needs of defense counsel to
13   prepare outweigh the public and the defendants’ interest in a speedy trial, and therefore the
14   continuance and exclusion of time are in the interest of justice. The hearing, however, will
15   be on October 8, 2009 at 9 a.m. (Criminal calendar will be on the Thursday, and not the
16   Friday that week).
17   IT IS SO ORDERED.
18   Dated:      September 18, 2009          /s/ Lawrence J. O'Neill
     b9ed48                              UNITED STATES DISTRICT JUDGE
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